                                 UNITED STATES DISTRICT COURT
                                  DISTRICT OF MASSACHUSETTS

      UNITED STATES OF AMERICA                                )
                                                              )
                               v.                             )      1:18-cr-10172-IT
                                                              )
      ERIC RADULOVIC                                          )
                                                              )

                      MOTION FOR HEARING AS TO TRIAL SCHEDULE

         The Defendant, Eric Radulovic, respectfully requests that the Court grant a hearing to

discuss the trial schedule. The Defendant has provided notice to the Government that he intends

call an expert witness to testify at trial with respect to certain features and characteristics of the

4chan online message board where the alleged threat in this case was made. However, the

Defendant’s proposed expert has longstanding international travel plans and is unavailable

between Oct. 16-21, 2019. The Defendant therefore requests that the Court schedule a hearing at

the Court’s earliest convenience to discuss the trial schedule and whether a continuance or some

adjustment to the trial schedule will be necessary.1

         The Defendant has discussed the content of this Motion with the Government. While

reserving its right to challenge the proposed expert testimony on Daubert or other grounds, the

Government agrees that a prompt hearing as to trial scheduling would be beneficial to the parties.

                                                      Respectfully submitted,
                                                      ERIC RADULOVIC,
                                                      By His Attorney,
                                                      /s/ Scott Lauer
                                                      Scott Lauer (B.B.O. # 667807)
                                                      Federal Public Defender Office
                                                      51 Sleeper Street, 5th Floor

1
 The Government has advised the Defendant that its case-in-chief is likely to be complete by Friday, Oct. 18, 2019.
The Defendant’s case-in-chief is unlikely to last until October 22, the earliest conceivable date at which Defendant’s
proposed expert could appear.

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                                       Certificate of Service

I, Scott Lauer, hereby certify that this document was this day filed through the ECF system and
will be sent electronically to the registered participants as identified on the Notice of Electronic
Filing (“NEF”).

Date: September 16, 2019                               /s/ Scott Lauer
                                                       Scott Lauer




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